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  10
       Attorneys for Plaintiff,
  11   JAMES SHAYLER
  12
  13                          UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
  14
  15
       JAMES SHAYLER, an individual,             Case No. 2:20-cv-09172-DMG-GJS
  16
                Plaintiff,
  17
                                                 Hon. Dolly M. Gee
           v.
  18
  19   B-K INGLEWOOD PROPERTY, LLC,
       a California limited liability company;   FIRST AMENDED COMPLAINT
  20   CONTINENTAL CURRENCY                      FOR VIOLATIONS OF THE
       SERVICES, INC., a California              AMERICANS WITH DISABILITIES
  21
       corporation; and DOES 1-10,               ACT OF 1990, 42 U.S.C. § 12181, et
  22                                             seq.
  23            Defendants.
                                                 DEMAND FOR JURY TRIAL
  24
  25
  26
  27
  28

                                  FIRST AMENDED COMPLAINT
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   1         Plaintiff James Shayler (hereinafter referred to as “Plaintiff”) complains of
   2
       Defendants B-K Inglewood Property, LLC, a California limited liability company;
   3
   4   Continental Currency Services, Inc., a California corporation; and Does 1-10 (each,

   5   individually a “Defendant,” and collectively “Defendants”), and alleges as follows:
   6
                                         I.     PARTIES
   7
   8         1.     Plaintiff James Shayler had two knee replacement surgeries which did
   9   not go well. The surgeries resulted in him having severe pain in his knees and
  10
       caused his legs to become very weak. He has a pinched sciatic nerve that runs
  11
  12   down his lower back and down his left leg. The pinched sciatic nerve causes his
  13   left leg to give out sporadically. He occasionally loses balance when his left leg
  14
       gives out. He also has neuropathy affecting the bottom of his feet. This causes a
  15
  16   burning sensation in his feet. He has spinal arthritis, spinal stenosis, spondylosis,
  17   and a herniated disk. He experiences severe back pain on a regular basis. He feels
  18
       sciatica nerve pain in his left hip, which also causes him to limp. He has difficulty
  19
  20   walking and standing and relies on a cane or walker for mobility. He also suffered
  21
       an injury back when he was a firefighter that required surgery on his left arm. He
  22
       has limited use of his left arm and hand. He cannot put much pressure on his left
  23
  24   arm and hand. His left hand has atrophied. Plaintiff is a disabled person entitled to
  25
       the protections of the Americans with Disabilities Act (ADA) (see 42 U.S.C. §
  26
       12102, et seq.), and other statutory laws which protect the rights of “disabled
  27
  28
                                         2
                              FIRST AMENDED COMPLAINT
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   1   persons.” Plaintiff has been issued a blue permanent Disabled Person Parking
   2
       Placard by the State of California. Plaintiff is a California resident with physical
   3
   4   disabilities.

   5          2.       Defendant B-K Inglewood Property, LLC, a California limited liability
   6
       company, owned the property (the “Property”) located at 2401 W. Manchester
   7
   8   Blvd., Inglewood, CA 90305.
   9          3.       There is a business establishment on the Property named “Continental
  10
       Currency Services” (hereinafter, “the business”).
  11
  12          4.       Defendant Continental Currency Services, Inc., a California
  13   corporation, owns/owned the business named “Continental Currency,” and has/had
  14
       control over its business at all relevant times.
  15
  16          5.       The business is a public accommodation as defined by 42 U.S.C. §
  17   12181(7).
  18
              6.       DOES 1 through 10 were at all relevant times lessors, lessees, property
  19
  20   owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
  21
       corporate officers, managers, principles, and/or representatives of Defendants.
  22
       Plaintiff is unaware of the true names and capacities of Defendants sued herein as
  23
  24   DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
  25
       names. Plaintiff requests that the Court grant leave to amend this complaint to
  26
       allege the true names and capacities when determined by whatever source.
  27
  28
                                           3
                                FIRST AMENDED COMPLAINT
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   1          7.     Defendants, at all relevant times, were relevant to this action; were the
   2
       owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
   3
   4   agents, affiliates, employees, employers, representative partners, subsidiaries,

   5   partner companies, and/or joint venturers of the remaining Defendants; and were
   6
       acting within the course and scope of that relationship. Upon information and
   7
   8   belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
   9   authorized the acts alleged of each of the remaining Defendants.
  10
              8.     Plaintiff visited the public accommodations owned, leased, and/or
  11
  12   operated by Defendants with the intent to purchase and/or use the goods, services,
  13   facilities, privileges, advantages, and/or accommodations offered by Defendants.
  14
                                 II.    JURISDICTION & VENUE
  15
              9.     This Court has subject matter jurisdiction over this action pursuant to
  16
  17   28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
  18
              10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
  19
       the real property which is the subject of this action is located in this district, and
  20
  21   Plaintiff’s cause of action arose in this district.
  22
                                             III.   FACTS
  23
              11.    The Property is a facility which is open to the public and includes a
  24
  25   business establishment.
  26
              12.    The Property has been newly constructed and/or underwent
  27
  28
       remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
                                          4
                               FIRST AMENDED COMPLAINT
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   1   to comply with the access standards which applied at the time of each new
   2
       construction and/or alteration, and/or failed to maintain accessible features in
   3
   4   operable working condition.

   5         13.    Plaintiff visited the Property during the relevant statutory period on
   6
       two (2) separate occasions, in December 2018 and September 2019, to patronize the
   7
   8   business on the Property.
   9         14.    Defendants did not offer persons with disabilities with equivalent
  10
       facilities, privileges, and advantages offered by Defendants to other patrons.
  11
  12         15.    Plaintiff encountered barriers, both physical and intangible, that
  13   interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
  14
       privileges, and/or accommodations offered at the Property.
  15
  16         16.    Parking is one of the facilities, privileges, and advantages offered by
  17   Defendants to patrons of the Property.
  18
             17.    However, there was no accessible parking for disabled patrons at the
  19
  20   Property. The parking space designated for disabled persons did not comply with
  21
       the ADA.
  22
             18.    The parking area did not comply with the applicable ADA Standards
  23
  24   for Accessible Design, and/or the applicable California Building Code (CBC).
  25
             19.    When Plaintiff visited the Property, he experienced access barriers
  26
       related to parking, signage, entrance(s), and path(s) of travel.
  27
  28
                                         5
                              FIRST AMENDED COMPLAINT
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   1         20.    Plaintiff encountered the following barriers, conditions, and/or
   2
       violations at the Property:
   3
   4
   5         VIOLATION of 1991 ADA Standards for Accessible Design (ADAS) §
   6
             4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC §§ 1114B.1.2, 1127B.1; 2019
   7
   8         CBC § 11B-206.2.1. (Exterior route of travel.) An accessible route of travel
   9         is not provided to all entrances and portions of the building, to all entrances
  10
             to the property, and/or between the building and a public way. Plaintiff
  11
  12         needs a dedicated path of travel, free of obstructions and vehicles, where (on
  13         which) he can use his cane or walker. It is dangerous for Plaintiff to navigate
  14
             while using a cane or walker without a safe, protected, accessible route of
  15
  16         travel; thus, the violation interferes with Plaintiff’s ability to fully access the
  17         premises.
  18
  19
  20         VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,
  21
             206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC §§ 1114B.1.2, 1127B.1; 2019
  22
             CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4. (Transportation – route of
  23
  24         travel.) An accessible route of travel must be provided within the property
  25
             boundary connecting public transport zones, parking, passenger loading
  26
             zones, and the public streets or sidewalks they serve, to the business
  27
  28
                                         6
                              FIRST AMENDED COMPLAINT
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   1         entrance. There is no accessible route connecting these elements for Plaintiff
   2
             to travel. No accessible route is provided within the property boundary from
   3
   4         the designated disabled parking space to the building entrance. The current

   5         route/path is via a public sidewalk not within the property boundary. It is
   6
             dangerous for Plaintiff to navigate while using a cane or walker without a
   7
   8         safe, accessible route of travel. The lack of an accessible route interfered
   9         (would interfere) with Plaintiff’s ability to fully access the premises.
  10
  11
  12         VIOLATION of 2010 CBC § 1129B.4; 2019 CBC §§ 11B-502.8, 11B-
  13
             502.8.2. (Off-street unauthorized parking sign.) The tow away sign(s)
  14
  15         (white sign(s) stating that “UNAUTHORIZED VEHICLES PARKED IN
  16         DESIGNATED ACCESSIBLE SPACES … WILL BE TOWED AWAY”)
  17
             must be posted in a conspicuous place at each entrance to an off-street
  18
  19         parking lot (facility), or immediately adjacent to and visible from each
  20         designated parking stall (space). The blank spaces are to be filled in with
  21
             appropriate information regarding the tow company address and telephone
  22
  23         number as a permanent part of the sign. That information was not provided.
  24
             Plaintiff cannot access the business safely if he cannot use a designated
  25
             disabled parking space which leads to an adjacent access aisle and an
  26
  27         accessible route of travel protected from other vehicles. Plaintiff needs to be
  28
                                        7
                             FIRST AMENDED COMPLAINT
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   1         able to park in the space that is nearest to the entrance and designated for
   2
             disabled patrons. Clear signage that explicitly warns of the consequences for
   3
   4         improperly parking in the designated disabled parking space will deter others

   5         without disabilities from parking there.
   6
   7
   8         VIOLATION of 1991 ADAS § 4.6.2; 2010 ADAS § 208.3.1; 2010 CBC §
   9         1129B.1; 2019 CBC § 11B-208.3.1. (Minimize travel distance.) The
  10
             designated disabled parking space is not located on the shortest accessible
  11
  12         route of travel from the parking facilities to an accessible entrance. Plaintiff
  13         needs to be able to park in the space that is nearest to the entrance and
  14
             designated for disabled patrons.
  15
  16
  17         VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.2.; 2010 CBC §§
  18
             1129B.3, 1129B.4; 2019 CBC §§ 11B-502.2, 11B-502.6.4.1, 502.6.4.2.
  19
  20         (Faded paint – designated disabled parking space lines.) The striping and
  21
             markings for the designated disabled parking stall and the loading/unloading
  22
             access aisle are dilapidated and in need of repair and/or maintenance. The
  23
  24         paint used for the designated disabled parking space is so worn and aged that
  25
             it cannot (can hardly) be seen. The International Symbol of Accessibility
  26
             was so faded and worn that it could barely be seen. This makes it unclear
  27
  28
                                        8
                             FIRST AMENDED COMPLAINT
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   1         where the actual parking space is and makes it difficult for Plaintiff to park in
   2
             the designated space. Plaintiff needs to be able to use an accessible parking
   3
   4         space, with an adjacent access aisle, to safely access the Property. Clear

   5         signage that explicitly marks the designated disabled parking space(s) will
   6
             deter others without disabilities from parking in the space(s). Plaintiff cannot
   7
   8         access the business safely if he cannot use a designated disabled parking
   9         space which leads to an adjacent access aisle and an accessible route of travel
  10
             protected from other vehicles. Plaintiff needs to be able to park in the space
  11
  12         that is nearest to the entrance and designated for disabled patrons. If the
  13         space reserved for disabled patrons is not properly marked, then others
  14
             without disabilities may park in the space.
  15
  16
  17
             VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
  18
  19         11B-502.2. (Width of parking space.) The designated disabled parking
  20         space is not wide enough. Car accessible parking stalls must be at least nine
  21
             feet (9') wide. Plaintiff needs to be able to park in the designated disabled
  22
  23         parking space, which should be located closest to the entrance and linked to
  24
             an accessible route of travel, because it is more difficult for him, as opposed
  25
             to individuals without disabilities, to maneuver about the Property.
  26
  27
  28
                                        9
                             FIRST AMENDED COMPLAINT
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    1        VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
    2
             11B-502.2. (Length of parking space.) The designated disabled parking
    3
    4        space measures less than eighteen feet (18') long, which makes it difficult for

    5        Plaintiff to park in the designated space. Plaintiff needs to be able to park in
    6
             the designated disabled parking space, which should be located closest to the
    7
    8        entrance and linked to an accessible route of travel, because it is more
    9        difficult for him, as opposed to individuals without disabilities, to maneuver
   10
             about the Property.
   11
   12
   13        VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 303.1, 303.2,
   14
             303.3, 303.4; 2010 CBC §§ 1133 B.7.1, 1133B.7.4; 2019 CBC §§ 11B-
   15
   16        303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Route/path from
   17        parking – uneven surface.) The path of travel from the designated disabled
   18
             parking space to the business entrance is through/via the public sidewalk
   19
   20        which contains abrupt vertical edges and/or variations over 1/4 inch (and no
   21
             ramp is provided). The path of travel has damaged ground that is uneven and
   22
             contains pavement distresses (i.e., the ground surface is not flush or flat).
   23
   24        Plaintiff, a cane or walker user, cannot fully enjoy the premises when such
   25
             conditions are present. These excess/abrupt changes in level pose risks to
   26
             Plaintiff, including that he may trip and/or fall, and/or that his cane or walker
   27
   28
                                        10
                             FIRST AMENDED COMPLAINT
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    1        may catch on, or become trapped in, the uneven ground.
    2
    3
    4        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2010 CBC §

    5        1129B.3.4; 2019 CBC § 11B-502.4. (Slope of designated disabled parking
    6
             space.) The designated disabled parking space has surface slopes greater
    7
    8        than two percent (2%). Given his mobility issues, Plaintiff needs to be able
    9        to traverse on a level surface. Sloped ground surfaces pose risks to Plaintiff,
   10
             including that his feet, cane, and/or walker may catch on the sloped ground,
   11
   12        causing him to fall.
   13
   14
             VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2010 CBC §
   15
   16        1129B.3.3; 2019 CBC § 11B-502.4. (Slope of adjacent access aisle.) The
   17        loading/unloading access aisle adjacent to the designated disabled parking
   18
             space has surface slopes greater than two percent (2%). Given his mobility
   19
   20        issues, Plaintiff needs to be able to traverse on a level surface. Sloped
   21
             ground surfaces pose risks to Plaintiff, including that his feet, cane, and/or
   22
             walker may catch on the sloped ground, causing him to fall.
   23
   24
   25
             VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.2; 2010 CBC §
   26
   27        1129B.3; 2019 CBC § 11B-502.3.2. (Length of adjacent access aisle.) The
   28
                                        11
                             FIRST AMENDED COMPLAINT
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    1        loading/unloading access aisle (adjacent to the designated disabled parking
    2
             space) was not long enough. The access aisle(s) adjacent to the designated
    3
    4        disabled parking space(s) shall extend the full length of the designated

    5        disabled parking space(s) it serves (a minimum of eighteen feet (18') long).
    6
             Given his mobility issues, Plaintiff needs extra space to be able to safely exit
    7
    8        his vehicle with his cane or walker. When the access aisle is too small,
    9        Plaintiff has difficulty disembarking his vehicle and unloading his mobility
   10
             device, which poses a greater risk of injury to him and can cause him
   11
   12        humiliation and/or frustration.
   13
   14
             VIOLATION of 2010 ADAS § 502.3.3; 2010 CBC § 1129B.3.1; 2019
   15
   16        CBC § 502.3.3. (“NO PARKING” – ground surface sign.) The words “NO
   17        PARKING,” which are required to be painted in the adjacent loading/
   18
             unloading access aisle, are faded and cannot (can barely) be seen/read. As a
   19
   20        result, non-disabled patrons park in the space adjacent to the designated
   21
             disabled parking space, blocking Plaintiff from being able to safely
   22
             disembark from his vehicle. Cars and trucks park or block the access aisles
   23
   24        because the required lettering cannot clearly be read. Plaintiff requires extra
   25
             space to be able to safely exit his vehicle and unload his mobility device(s).
   26
             When an access aisle is not available for him to use, Plaintiff has difficulty
   27
   28
                                        12
                             FIRST AMENDED COMPLAINT
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    1        disembarking his vehicle, which poses a greater risk of injury to him and can
    2
             cause him humiliation and/or frustration.
    3
    4
    5        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
    6
             1129B.3; 2019 CBC § 11B-502.3. (Access aisles must adjoin accessible
    7
    8        route.) The adjacent loading/unloading access aisle must adjoin an
    9        accessible route to an accessible entrance. It does not. Plaintiff cannot
   10
             access the Property safely unless the access aisle is connected to an
   11
   12        accessible, protected route. Plaintiff requires a parking space located nearest
   13        to the business entrance, with an adjacent access aisle that adjoins an
   14
             accessible, protected route, so that he can safely travel to the business
   15
   16        entrance. It is dangerous for Plaintiff to navigate while using his cane or
   17        walker without a safe, protected, accessible route of travel; thus, the violation
   18
             interferes with Plaintiff’s ability to fully access the premises.
   19
   20
   21
             VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
   22
   23        1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
   24
             International Symbol of Accessibility (ISA) sign at the front entrance to the
   25
             business. There is no directional signage showing an accessible path of
   26
   27        travel to an accessible entrance. Plaintiff, a cane and/or walker user, faces an
   28
                                         13
                              FIRST AMENDED COMPLAINT
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    1         increased risk of injury if he is required to backtrack because he cannot find
    2
              an accessible entrance into the business. Thus, he requires clear signage
    3
    4         directing him to the accessible entrance(s). Accessible entrances should be

    5         marked with an ISA.
    6
    7
    8         21.    Plaintiff personally encountered the foregoing barriers, conditions,
    9   and/or violations.
   10
              22.    These barriers, conditions, and/or violations denied Plaintiff full and
   11
   12   equal access, and caused him difficulty, humiliation, and/or frustration.
   13         23.    The barriers, conditions, and/or violations existed during each of
   14
        Plaintiff’s visits in December 2018 and September 2019.
   15
   16         24.    Furthermore, although Plaintiff did not personally encounter all of the
   17   following barriers, conditions, and/or violations, Plaintiff is informed that the
   18
        following barriers, conditions, and/or violations, which affect access for mobility-
   19
   20   impaired cane or walker users like him, remain at the Property:
   21
   22
              VIOLATION of 1991 ADAS § 4.3.7; 2010 ADAS § 403.3; 2019 CBC §
   23
   24         11B-403.3. (Cross slope of route(s) of travel.) The cross slope of walking
   25
              surfaces shall not be steeper than two percent (2%). The public sidewalk
   26
              (i.e., the only path of travel to the building entrance) has cross slopes that are
   27
   28
                                          14
                               FIRST AMENDED COMPLAINT
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    1         steeper than two percent (2%). Given his mobility issues, Plaintiff needs to
    2
              be able to traverse on a flat, level surface so that he can fully access the
    3
    4         premises. The sloped ground surface poses risks to Plaintiff, including that

    5         his feet, cane, and/or walker may catch on the ground that is not level,
    6
              causing him to fall.
    7
    8
    9         VIOLATION of 1991 ADAS § 4.13.8; 2010 ADAS § 404.2.5; 2019 CBC
   10
              §§ 11B-404.2.5. (Front door entrance threshold and weather strip changes in
   11
   12         level.) The front door entrance threshold and weather strip at the business
   13         has changes in level greater than one-half inch (1/2") but no ramp is
   14
              provided. This makes traversing this area difficult because it forces Plaintiff
   15
   16         to step higher (raise his feet/legs more), and/or lift his cane or walker higher,
   17         and presents a risk that Plaintiff’s cane, walker, and/or feet may catch on the
   18
              uneven surface.
   19
   20
   21
              25.    Upon information and belief, Plaintiff alleges that Defendants had
   22
        actual knowledge that the foregoing architectural barriers prevented access, and that
   23
   24   their noncompliance with the ADA Standards for Accessible Design (ADAS),
   25
        ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), and/or the
   26
        California Building Code (CBC) was intentional.
   27
   28
                                           15
                                FIRST AMENDED COMPLAINT
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    1          26.    Plaintiff intends and plans to visit the Property again soon. Currently,
    2
        Plaintiff is reasonably deterred from returning to Defendants’ public
    3
    4   accommodation facilities because of the knowledge of barriers to equal access,

    5   relating to Plaintiff’s disabilities, that continue to exist at the Property.
    6
               27.    Defendants have failed to maintain in working and useable condition
    7
    8   those features necessary to provide ready access to persons with disabilities.
    9          28.    Defendants have the financial resources (i.e., financial ability) to
   10
        remove these barriers without much expense or difficulty in order to make the
   11
   12   Property more accessible to their mobility impaired customers (i.e., disabled
   13   persons). The removal of these barriers is readily achievable. The United States
   14
        Department of Justice has determined that removal of these types of barriers is
   15
   16   readily achievable.
   17          29.    Defendants refuse to remove these barriers.
   18
               30.    On information and belief, Plaintiff alleges that Defendants’ failure to
   19
   20   remove these barriers was/is intentional, because the barriers are logical and
   21
        obvious. During all relevant times, Defendants had authority, control, and
   22
        dominion over these conditions. Thus, the absence of accessible facilities was/is
   23
   24   not a mishap; it was/is the result of intentional actions or inaction.
   25
               31.    These barriers to access are described herein without prejudice to
   26
        Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
   27
   28
                                           16
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    1   agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
    2
        (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
    3
    4   have all barriers that relate to his or her disability removed, regardless of whether

    5   he or she personally encountered them).
    6
                                     IV. VIOLATION OF THE
    7
    8                   AMERICANS WITH DISABILITIES ACT OF 1990
    9                                 (42 U.S.C. § 12101, et seq.)
   10
                                       (Against All Defendants)
   11
   12            32.   Plaintiff alleges and incorporates by reference each and every
   13   allegation contained in all prior paragraphs of this complaint.
   14
                 33.   Title III of the ADA prohibits discrimination against any person, on
   15
   16   the basis of disability, in the full and equal enjoyment of the goods, services,
   17   facilities, privileges, advantages, or accommodations of any place of public
   18
        accommodation, by any person who owns, leases, or operates a place of public
   19
   20   accommodation. 42 U.S.C. § 12182(a).
   21
                 34.   Defendants discriminated against Plaintiff by denying him “full and
   22
        equal enjoyment” and use of the goods, services, facilities, privileges, and/or
   23
   24   accommodations they offered, during each visit, and each incident of a deterred
   25
        visit.
   26
                 35.   The acts and omissions of Defendants herein were/are in violation of
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                                           17
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    1   Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
    2
        et seq.
    3
    4             36.   Pursuant to the ADA, discrimination is a “failure to make reasonable

    5   modifications in policies, practices or procedures, when such modifications are
    6
        necessary to afford goods, services, facilities, privileges, advantages or
    7
    8   accommodations to individuals with disabilities, unless the entity can demonstrate
    9   that making such modifications would fundamentally alter the nature of such goods,
   10
        services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
   11
   12   12182(b)(2)(A)(ii).
   13             37.   The ADA requires removal of architectural barriers in existing
   14
        facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
   15
   16   (“discrimination includes … a failure to remove architectural barriers, and
   17   communication barriers that are structural in nature, in existing facilities, … where
   18
        such removal is readily achievable”). The term “readily achievable” is defined as
   19
   20   “easily accomplishable and able to be carried out without much difficulty or
   21
        expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
   22
        Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
   23
   24   ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at 28 C.F.R.
   25
        Part 36, Appendix A.
   26
                  38.   If removal of any barrier is not readily achievable, a failure to make
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    1   goods, services, facilities, or accommodations available through alternative
    2
        methods is also prohibited if the alternative methods are readily achievable. 42
    3
    4   U.S.C. § 12182(b)(2)(A)(v).

    5         39.    Defendants can remove the architectural barriers at their facility
    6
        without much difficulty or expense. Defendants violated the ADA by failing to
    7
    8   remove the barriers because removal was readily achievable. For instance, there
    9   are companies which can repaint parking areas for as little as $350. Defendants can
   10
        afford such costs, which are a fraction of what Defendants receive in (rental or
   11
   12   business) profits in connection with such a large and expensive property.
   13         40.    Alternatively, if it was not “readily achievable” for Defendants to
   14
        remove barriers at their facilities, Defendants violated the ADA by failing to make
   15
   16   their services available through alternative methods which are readily achievable.
   17         41.    On information and belief, Plaintiff alleges that the facility was altered
   18
        after January 26, 1992, mandating compliance with accessibility requirements
   19
   20   under the ADA.
   21
              42.    The ADA requires that facilities altered in a manner that affects or
   22
        could affect their usability must be made readily accessible to individuals with
   23
   24   disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
   25
              43.    Defendants altered the facilities at the Property in a manner that
   26
        violated the ADA, and/or failed to make the Property readily accessible to
   27
   28
                                          19
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    1   physically disabled persons to the maximum extent feasible.
    2
              44.    The ADA also requires reasonable modifications in policies, practices,
    3
    4   or procedures, when such modifications are necessary to afford goods, services,

    5   facilities, privileges, advantages, or accommodations to individuals with
    6
        disabilities, unless the entity can demonstrate that making such modifications
    7
    8   would fundamentally alter the nature of such goods, services, facilities, privileges,
    9   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
   10
              45.    Defendants violated the ADA by failing to make reasonable
   11
   12   modifications in policies, practices, or procedures at the Property when these
   13   modifications were necessary to afford (and would not fundamentally alter the
   14
        nature of) the goods, services, facilities, privileges, advantages, or accommodations.
   15
   16         46.    Here Defendants’ failure to make sure that accessible facilities were
   17   available to, and ready to be used by, Plaintiff was/is a violation of law.
   18
              47.    Plaintiff would like to continue to frequent the Property, which is
   19
   20   located within ten (10) miles of his home. However, he is deterred from doing so
   21
        because he has been discriminated against and is aware of accessibility barriers at
   22
        the Property.
   23
   24         48.    Among the remedies sought, Plaintiff seeks an injunction order
   25
        requiring compliance with the ADA, and remediation of the existing access
   26
        violations (i.e., removal of the existing barriers) at the Property.
   27
   28
                                           20
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    1                                PRAYER FOR RELIEF
    2
             WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
    3
    4        1. For injunctive relief compelling Defendants to comply with the

    5           Americans with Disabilities Act and remove access barriers (i.e.,
    6
                remediate violations) at the Property/business/facility.
    7
    8        2. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
    9           to 42 U.S.C. § 12205.
   10
                                         JURY DEMAND
   11
   12        Plaintiff demands a trial by jury on all issues so triable.
   13
   14   Dated: March 12, 2021           THE LAW OFFICE OF HAKIMI & SHAHRIARI
   15
   16                                   By:    /s/ Anoush Hakimi
   17                                          ANOUSH HAKIMI, ESQ.
                                               Attorney for Plaintiff James Shayler
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                              FIRST AMENDED COMPLAINT
